     Case 3:11-cr-00671-BAS     Document 258   Filed 03/04/15   PageID.957   Page 1 of 1




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 6                            UNITED STATES DISTRICT COURT
 7                          SOUTHERN DISTRICT OF CALIFORNIA
 8    UNITED STATES OF AMERICA                     Case No . llCR00671-WQH
 9                       Plaintiff,                JUDGMENT AND ORDER
                                                   DISMISSING INDICTMENT AND
10          v.                                     RECALLING ARREST WARRANTS
11    JOSE ANTONIO HERNANDEZ­
      GUTIERREZ (2),
12    CUAUTHEMOC ARTURO
13    ARMENDARIZ-SANDOVAL (4),
                         Defendants .
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15
            Upon motion of the UNITED STA TES OF AMERICA and good cause
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      appeanng,
17
            IT IS HEREBY ORDERED that the above defendants are dismissed from the
18
      Indictment without prejudice.
19
            IT IS FURTHER ORDERED that the warrants for the arrests of the above
20
      defendants shall be recalled.
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            IT IS SO ORDERED.
22
23
            DATED:     cyif,---.
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25                                                                          Q. HAYES
                                                                    nctJudge
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